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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division
In re:
         Bluepoint Medical Associates, LLC                   Case No. 19-13121-KHK
                                                             Chapter 11
                             Debtor



Wisteria 12810, LLC

         Movant,

v.

Bluepoint Medical Associates, LLC

         Debtor/Respondent.

                    MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW your Movant, by counsel, and pursuant to 11 U.S.C. § 362(d) your Movant

files this Motion for Relief from Stay to terminate, annul, modify, or condition the automatic stay,

and in support thereof states as follows:

         1.    This Court has proper jurisdiction over the matters herein alleged pursuant to 28

U.S.C. § 157 and is a contested matter under the Rules of Bankruptcy Procedure 4001 and 9014.

         2.    On September 19, 2019, the Debtor filed a petition under Chapter 11 of the United

States Bankruptcy Code.

         3.    The Debtor is subject to a Lease with Movant for a 2,878 square foot professional

condominium space, wherein Debtor operates a sleep treatment business.

         4.    The Property is more particularly described as 6128 Brandon Avenue, Units # 208

and # 210, Springfield, VA 22150.
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       5.      At the time of filing of the petition, the Debtor owed the Movant $42,880.85 for

unpaid rent due. Since the filing of the petition, the Debtor has failed to pay rent and other fees

for the month of October 2019. The monthly rent is $6,946.95. See copies of the lease agreement,

the addendum to lease, and the statement of account attached as hereto Exhibit 1, Exhibit 2 and

Exhibit 3.

       6.      This is a medical building, and as such there is an urgent health issue. The Debtor’s

units had a failure of multiple toilets on or around the time of the filing of this case, and this has

caused flooding not only in these units, but tragically in the units in the floor beneath that belong

to other owners who are not the Movant. The condo association is requiring the Debtor to pay for

the extensive damage from the Lease required premises insurance, but apparently the Debtor is

insufficiently insured. The Debtor has put carpeting back into the units after attempted drying, but

there is mold accumulating. The Debtor keeps weekend and evening hours that are costing Movant

for extensions of extra heat and air.

       7.      The Movant is not adequately protected and there is no equity in the aforesaid

property for the benefit of the Debtor or Debtor’s estate.

       8.      The arrearages aforementioned are increasing on a monthly basis and the damages

are not being rectified, to the detriment of Movant’s interest.

       9.      The failure to make payments and the failure to rectify the damages constitute a

material default and thereby creates cause for relief from stay.

       10.     Movant has not been offered adequate protection for its interests, nor is the Debtor

at all able to provide adequate protection to the Movant.

       11.     The aforementioned property is not necessary for an effective reorganization unless

adequate protection in the form of full payment of the arrearages and full payment for the extensive

damage is provided.
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       12.     Movant is presently being injured by its inability to proceed with an unlawful

detainer action to obtain possession of the premises.

       WHEREFORE, and these premises considered, Movant respectfully moves this Court for

relief from automatic stay so as to complete an eviction action in the Courts of this Commonwealth.

                                                        WISTERIA 12810, LLC
                                                        By Counsel

Dated: October 23, 2019

NEW DAY LEGAL, PLLC

By: /s/ John C. Morgan
John C. Morgan, Esquire, VSB # 30148
Scott W. Carpenter, Esquire, VSB # 89057
Suad Bektic, Esquire, VSB # 90012
98 Alexandria Pike, Suite 10
Warrenton, Virginia 20186
Phone: (540) 349-3232
Facsimile: (888) 612-0943
Counsel for Wisteria 12810, LLC



                                CERTIFICATE OF SERVICE

       I hereby certify that on this 23rd day of October 2019, I have provided a copy of the
foregoing Motion for Relief from Automatic Stay via the CM/ECF system or by first-class, postage
paid mail, to the following:

Office of the United States Trustee
1725 Duke Street, Suite 650
Alexandria, VA 22314

John T. Donelan, Esquire
125 South Royal Street
Alexandria, VA 22314
Counsel for the Debtor
                                                        /s/ John C. Morgan
                                                                John C. Morgan



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